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                IN THE UNITED STATES DISTRICT COURT FOR
                 THE EASTERN DISTRICT OF PENNSYLVANIA
________________________________________

 JAMES EVERETT SHELTON,

                Plaintiff

                  v.
                                                         Case No. 2:18-cv-03723
 FCS CAPITAL LLC, EMIL YASHAYEV, &
 BARRY SHARGEL
                                                        Honorable Nitza I. Quiñones Alejandro
                Defendants


PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
                        AMENDED COMPLAINT



                FACTUAL HISTORY AND PROCEDURAL BACKGROUND


       Plaintiff James Shelton initiated this action because Defendant FCS Capital LLC and its

individual directors/owners made numerous telemarketing calls to Plaintiff in violation of the

Telephone Consumer Protection Act. Defendants placed at least 18 violative telephone calls to

Plaintiff, at least eight (8) of which were delivered via an Automated Telephone Dialing System

(“ATDS”). The Defendants made the calls despite the placement of Plaintiff’s cellular telephone

number on the National Do Not Call Registry in 2015, long before the period of time when the

calls began. The Defendants continued to place calls even after being given multiple do not call

requests by Plaintiff and gaining actual knowledge that Plaintiff did not want to be called. Id. at

¶53, 192-193.

       Rather than defending the instant action in a procedural manner or on the merits, the

Defendants have opted to adopt a strategy of smearing the Plaintiff. Defendants have made a

baseless naked assertion, void of any factual substantiation, that, Plaintiff is, “colluding with a
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third party to try and extract an improper settlement where he is not entitled to one”. See ECF

No. 19 at 2.

        Defendants have advanced one defense that is not based on personal attacks, specifically

the claim that Plaintiff has suffered no damages related to the alleged calls. Plaintiff’s Amended

Complaint clearly pleads multiple valid injuries-in-fact, and the TCPA and Pennsylvania’s

Telemarketer Registration Act (“PTRA”) both allow Plaintiff to recover statutory damages for

these violations. While not based on a personal attack, Defendant’s “no article III standing” “no

subject matter” defense is lacking in merit.

        If there were no injury-in-fact there would be no Article III standing and this Court would

therefore have to dismiss the action, without prejudice, for lack of subject matter jurisdiction. In

the absence of subject matter jurisdiction, the Court would not be able to adjudicate the matter on

the merits and thus any dismissal on the basis of lack of Article III standing would have to be

without prejudice.

        However, this Court does not lack subject matter jurisdiction over the claims that serve as

the basis of the instant action. Subject matter jurisdiction clearly exists.

        For the following reasons, Defendants’ motion to dismiss should be DENIED in its

entirety.

                                STANDARD OF REVIEW
        A Motion to Dismiss under Fed. R. Civ. P. 12(b)(6) tests the legal sufficiency of the

complaint and is not an appropriate mechanism to resolve factual disputes. If a complaint

plausibly states a claim and there is a set of facts consistent with the claims stated in the

complaint, which would permit a plaintiff to recover, then a motion to dismiss for failure to state

a claim should not be granted.




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        Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). “Factual allegations must be

enough to raise a right to relief above the speculative level.” Id. at 555. The question is not

whether the claimant “will ultimately prevail… but whether his complaint [is] sufficient to cross

the federal court’s threshold.” Skinner v. Switzer, 562 U.S. 521, 529-30 (2011) (internal

quotation marks omitted).

       Thus, assessment of the sufficiency of a complaint is “a context- dependent exercise”

because “[s]ome claims require more factual explication than others to state a plausible claim for

relief.” W. Penn Allegheny Health Sys., Inc. v. UPMC, 627 F.3d 85, 98 (3rd Cir. 2010). In

deciding a 12(b)(6) motion and when considering the legal sufficiency of a claim, courts accept

factual allegations as true, drawing all reasonable inferences therefrom in the favor of the non-

moving party. ALA, Inc. v. CCAIR, Inc., 29 F.3d 855, 859 (3d Cir. 1994). See also, Mayer v.

Belichick, 605 F.3d 223, 230 (3d Cir. 2010) (“[A] court must consider only the complaint,

exhibits attached to the complaint, matters of public record, as well as undisputedly authentic

documents if the complainant’s claims are based upon these documents.”).

       For this reason, district courts strongly disfavor Rule 12(b) (6) motions. Melo-Sonics

Corp. v. Cropp, 342 F.2d 856 (3d Cir.1965); Kuromiya v. United States, 37 F. Supp. 2d 717, 722

(E.D.Pa.1999). A court must only dismiss a complaint if “it is clear that no relief could be

granted under any set of facts that could be proved consistent with the allegations.” H.J. Inc., 492

U.S. at 249-50, 109 S. Ct. 2893 (quoting Hishon v. King & Spalding, 467 U.S. 69, 73, 104 S. Ct.

2229, 81 L. Ed. 2d 59 (1984)); Neitzke v. Williams, 490 U.S. 319, 326-327, 109 S. Ct. 1827, 104

L. Ed. 2d 338 (1989).




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       Finally, “if a [claim] is vulnerable to 12(b)(6) dismissal, a district court must permit a

curative amendment, unless an amendment would be inequitable or futile.” Phillips v. County of

Allegheny, 515 F.3d 224, 236 (3d Cir. 2008).

       The Defendant in the instant action is attempting to utilize a 12(b)(6) motion to resolve

factual disputes, something that is generally only done via a motion brought pursuant to F.R.C.P

56. Defendant is clearly not entitled to the granting of a 12(b)(6) motion because Plaintiff has

stated legally cognizable claims and sufficient facts to demonstrate he is plausibly entitled to the

relief prayed for in the complaint.

       1. 12(b)(1) and Article III Standing

       “[T]o satisfy Article III's standing requirements, a plaintiff must show (1) it has suffered

an 'injury in fact' that is (a) concrete and particularized and (b) actual or imminent, not

conjectural or hypothetical; (2) the injury is fairly traceable to the challenged action of the

defendant; and 3) it is likely, as opposed to merely speculative, that the injury will be redressed

by a favorable decision.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528

U.S. 167, 180-81, 120 S. Ct. 693, 145 L. Ed. 2d 610 (2000). An injury-in-fact is “an invasion of

a legally protected interest” that is “concrete and particularized.” Alston v. Countrywide Fin.

Corp., 585 F.3d 753, 762-63 (3rd. Cir. 2009) (quoting Lujan v. Defenders of Wildlife, 504 U.S.

555, 560 (1992). “[T]he court must only consider the allegations of the complaint and documents

referenced therein and attached thereto, in the light most favorable to Plaintiff.” Gould Elecs.

Inc. v. United States, 220 F.3d 169, 176 (3d Cir. 2000).



                                           ARGUMENT

1.     Plaintiff Has Established that he Suffered Multiple Concrete Injuries


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       In Spokeo, Inc. v. Robins, 136 S. Ct. 1540 - 2016, the Supreme Court confirmed that a

plaintiff must plead a concrete and particularized injury, but clarified that an “intangible” injury

is sufficient to confer Article III standing. Since Spokeo, district courts have repeatedly held that

plaintiffs who allege under the TCPA that telemarketing calls to invade their privacy or are a

nuisance, or who complain that the calls have occupied their phone lines preventing legitimate

communications, have established Article III standing.1 In fact, the Third Circuit Court of

Appeals held:

       [W]e conclude that the injuries alleged by Susinno are concrete for two reasons.
       First, Congress squarely identified this injury. The TCPA addresses itself directly
       to single prerecorded calls from cell phones, and states that its prohibition acts "in
       the interest of [ ] privacy rights." 47 U.S.C. § 227(b)(2)(C). The congressional
       findings in support of the TCPA likewise refer to complaints that "automated or
       prerecorded telephone calls are a nuisance [and] . . . an invasion of privacy." Pub.
       L. 102-243, § 2. We therefore agree with Susinno that in asserting "nuisance and
       invasion of privacy" resulting from a single prerecorded telephone call, her
       complaint asserts "the very harm that Congress sought to prevent," arising from
       prototypical conduct proscribed by the TCPA. App. 11 (First Amended
       Complaint); see also Van Patten v. Vertical Fitness Grp., LLC, 847 F.3d 1037,
       1043 (9th Cir. 2017) (finding two unwanted text messages constituted [**10] a
       concrete injury under the TCPA, as they "present the precise harm and infringe the
       same privacy interests Congress sought to protect")…




1
  See Cabiness v. Educ. Fin. Sols., No. 16-cv-01109-JST, 2016 WL 5791411 (N.D. Cal. Sept. 1,
2016) (a TCPA violation “necessarily harms the recipient of the unwanted calls such that the
statutory violation is sufficient on its own to constitute an injury in fact”); Cour v. Life360, Inc.,
No. 16-CV-00805-TEH, 2016 WL 4039279, at *2 (N.D. Cal. July 28, 2016) (rejecting Life360’s
argument that invasion of privacy is insufficient to confer Article III standing); Juarez v.
Citibank, N.A., No. 16-CV-01984-WHO, 2016 WL 4547914, at *3 (N.D. Cal. Sept. 1, 2016)
(“Juarez’s allegation that he received repeated unwanted calls that caused him aggravation,
nuisance, and an invasion of privacy, is sufficient to allege a ‘concrete’ and ‘particularized’
injury that establishes standing under Spokeo.”); Krakauer v. Dish Network L.L.C., No. 1:14-CV-
333, 2016 WL 4272367, at *2 (M.D.N.C. Aug. 5, 2016) (“While class members did not
necessarily pick up or hear ringing every call at issue in this case, each call created, at a
minimum, a risk of an invasion of a class member’s privacy” for purposes of Article III
standing); Caudill v. Wells Fargo Home Mtg., Inc., Civ. No. 5:16–066, 2016 WL 3820195, at *2
(E.D. Ky. July 11, 2016) (noting that calls caused harms “such as the invasion of privacy [that]
have traditionally been regarded as providing a basis for a lawsuit in the United States”).
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        Traditionally, a plaintiff's "privacy is invaded" for the purpose of an intrusion upon
        seclusion claim by telephone calls "only when [such] calls are repeated with such
        persistence and frequency as to amount to . . . hounding." Intrusion upon
        Seclusion, Restatement (Second) of Torts § 652B, cmt d (1977). The
        Second [**11] Restatement suggests that because "two or three" [*352] calls
        would not be "highly offensive to the ordinary reasonable [person]," they
        traditionally would provide no cause of action. Id. Yet when Congress found that
        "[u]nsolicited telemarketing phone calls or text messages, by their nature, invade
        the privacy and disturb the solitude of their recipients," Van Patten, 847 F.3d at
        1043, it sought to protect the same interests implicated in the traditional common
        law cause of action. Put differently, Congress was not inventing a new theory of
        injury when it enacted the TCPA. Rather, it elevated a harm that, while "previously
        inadequate in law," was of the same character of previously existing "legally
        cognizable injuries." Spokeo, 136 S. Ct. at 1549. Spokeo addressed, and approved,
        such a choice by Congress.

        For these reasons, we hold that Susinno has alleged a concrete, albeit intangible,
        harm under the Supreme Court's decision in Spokeo.

        Susinno v. Work Out World Inc., 862 F.3d 346, 351-52 (3d Cir. 2017). This Court should

reach the same result here.

        As explained below, Plaintiff suffered at least four concrete injuries that have been

recognized under the common law, or by Congress: (1) invasion of privacy and a nuisance; (2)

occupation of Plaintiff’s cellular telephone; (3) wasted time; and (4) economic harm from the use

of his cell phone. Each injury alone is sufficient in and of itself to establish Article III standing.

        Plaintiff is a student at Case Western Reserve University now in his senior year as an

undergraduate. These calls annoyed him and distracted him from his work as a student. This is a

valid concrete injury in and of itself.

           a. Defendant’s Calls Invaded Plaintiff’s Privacy and Were a Nuisance
        Nuisance and invasion of privacy are the precise harms that Congress sought to prevent

in enacting the TCPA. Here, the Plaintiff has alleged that he suffered particularized and concrete

injuries because the calls at issue were a nuisance, forced him to incur expenses, and violated his

privacy rights⎯the exact harms that Congress sought to prevent in enacting the TCPA. See 47



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U.S.C. § 227 (Congressional Findings); see also Owens Ins. Co. v. European Auto Works, Inc.,

695 F.3d 814, 819-20 (8th Cir. 2012) (“[T]he ordinary meaning of the term ‘right of privacy’

easily includes violations of the type of privacy interest protected by the TCPA.”).



           b. Defendant Harmed Plaintiff by Occupying his Cellular Telephone Line.

       One purpose of the TCPA is to “keep[] telephone lines from being tied up.” American

States Ins. Co. v. Capital Assocs., 392 F.3d 939, 942 (7th Cir. 2004). Just as the privacy interests

identified in the TCPA are grounded in the common law tort of invasion of privacy, the harm

caused by unwanted telemarketing calls to cell phones has a close relationship to the harm

recognized by the ancient common law tort “trespass to chattels.” Mey v. Got Warranty, Inc., No.

5:15-CV-101, 2016 WL 3645195, at *6 (N.D.W. Va. June 30, 2016). Indeed, courts have

repeatedly held that the electronic intrusion upon another person’s computerized electronic

equipment, even if temporary, constitutes trespass to chattels. See, e.g., Czech v. Wall St. on

Demand, 674 F. Supp. 2d 1102, 1122 (D. Minn. 2009) (declining to dismiss cell phone owner's

trespass to chattels claim against sender of unwanted text messages).

       Spokeo also recognized that an injury would satisfy Article III’s “concreteness”

requirement if the injury “has a close relationship to a harm that has traditionally been regarded

as providing a basis for a lawsuit in English or American courts.” Spokeo, 2016 WL 2842447 at

*7. Invasion of privacy is just such a harm long recognized by the common law. Almost all states

recognize invasion of privacy as a common law tort. Accordingly, as the protections afforded

consumers under the TCPA and FCRA have a close relationship to the right of privacy and

nuisance long recognized by the common law, consumers who allege a violation of the TCPA




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and FCRA adequately allege a concrete “injury in fact” sufficient to satisfy Article III’s standing

requirements.

            c. The Telemarketing Calls Harmed Plaintiff By Wasting His Time

        The first post-Spokeo decision to address whether a mere allegation of a TCPA violation

satisfies Article III’s requirement of “injury in fact” holds that wasting the recipient’s time is a

concrete injury that satisfies Article III:

        Here, the court is satisfied that Plaintiffs’ allegations demonstrate “concrete injury”
        as elucidated in Spokeo. In Spokeo, the “injury” Plaintiffs incurred was arguably
        merely procedural and thus non-concrete. In contrast, the TCPA… violations
        alleged here, if proven, required Plaintiffs to waste time answering or otherwise
        addressing widespread robocalls. The use of the autodialer, which allegedly
        enabled Defendants to make massive amounts of calls at low cost and in a short
        period of time, amplifies the severity of this injury. As Congress and Washington
        State’s legislature agreed, such an injury is sufficiently concrete to confer standing.

Booth v. Appstack, Inc., 2016 U.S.Dist LEXIS 68886, *15-17 (W.D. Wash. May 25, 2016). This

decision is consistent with a number of pre-Spokeo decisions which also recognized that lost time

is an adequate injury-in-fact in TCPA and other cases. See Leung v. XPO Logistics, Inc., 2015

WL 10433667, *4 (N.D. Ill. Dec. 9, 2015) (“Leung alleges that he lost time in responding to

XPO’s call. … That is enough, so XPO’s motion must be denied.”); Martin v. Leading Edge

Recovery Solutions., LLC, 2012 WL 3292838, at *3-4 (N.D. Ill. Aug. 10, 2012) (“[plaintiffs

suffered an injury in fact] because they had to spend time tending to unwanted calls”).


            d. Plaintiff suffered tangible concrete harm in the form of economic damages from
               Defendant hijacking his cellular phone.

        Finally, not only has Plaintiff alleged concrete but “intangible” harms due to invasion of

privacy, nuisance, trespass to chattel and wasted time, but he also sustained “tangible” sustained

economic harm as a direct result of Target Advance’s illegal telemarketing practices. The calls at


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issue were received on a cell phone used by and paid for by Plaintiff. The FCC has long

recognized that the recipient of telemarketing calls to a cell phone is “charged” for such calls,

even if the cell phone subscribes to a plan that charges a flat monthly rate. See In re Rules and

Regulations Implementing the TCPA of 1991, 18 FCC Rcd. 14014, 14115 (2003); In re Rules

and Regulations Implementing the TCPA of 1991, 23 FCC Rcd. 559, 562 (2007); In re Rules and

Regulations Implementing the TCPA of 1991, 27 FCC Rcd. 1830, 1839–40 (2012); Fini v. DISH

Network L.L.C., 955 F. Supp. 2d 1288, 1297 (M.D. Fla. 2013); Lee v. Credit Management, 846

F. Supp. 2d 716, 729 (S.D. Tex. 2011). As Plaintiff paid for his monthly cell phone on which he

received the telemarketing calls at issue, Plaintiff has alleged a tangible injury in fact sufficient

to satisfy Article III’s standing requirement. See Warnick v. DISH Network, LLC, 2014 U.S.Dist.

LEXIS 138381 * 43-46 (D. Colo. Sept. 30, 2014) (rejecting argument that because plaintiff did

not have a pay per call plan he did not suffer any injury as a result of the calls at issue); Soppet v.

Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012) (consumers ultimately bear the

costs of calls to violative calls to cell phones regardless of “whether they pay in advance or after

the minutes are used”). This “tangible” harm is sufficient to confer standing under Spokeo.

        The invasion of privacy and the allegation that the illegal calls cost Plaintiff money—

financial harm—are not speculative future injuries or injuries based on the violation of rights

provided in a statute. See e.g. Jamison v. Esurance Insurance Services, Inc., 2016 WL 320646,

*3 (N.D. Tex. Jan. 27, 2016) (“Here, Jamison alleged that when Esurance violated the TCPA, it

caused her to incur cellular telephone charges or to reduce her previously-paid-for cellular

telephone time, and that it invaded her privacy. Dkt. 7, Pl.’s First Am. Compl. ¶ 49. At this stage,

this pleading is sufficient to establish an injury in fact.”).




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2.      Plaintiff is alleging that the Telemarketing Calls at Issue in this Case did not come
from another entity, Fast Advance Funding, LLC, Plaintiff is alleging that the Defendants
in this case placed the calls in question and in dispute in the instant action.

       Defendants claim that an individual “Michael Deangelis” was an employee of Fast

Advance Funding LLC (“FAF”) during the time Plaintiff is alleging in his complaint. This is

true, because Mr. Deangelis was an employee of FAF in March, 2018, when Plaintiff received an

e-mail with Deangelis’ name on it (referenced as Exhibit A in Defendant’s Motion to Dismiss).

But on May 1, 2018, Deangelis was working for Defendants FCS Capital LLC. See Pl.’s

Amended Complaint at 47, 50. For reasons unknown, Defendants claim that Mr. Deangelis was

calling with his cell phone, over which none of the Defendants would have control. Plaintiff has

alleged the calls that came from Deangelis’ cell phone number were made for telemarketing

purposes in the scope of Deangelis’ duties working for Defendants, in the furtherance of selling

Defendant’s services. Id at 58. The circumstances and nature of the calls made by Defendants to

Plaintiff constitute genuine disputes of material fact.

       Finally, Defendants raise an unconvincing argument that Mr. Deangelis could have been

spoofing Defendants’ telephone number in order to retaliate at Defendants for firing him. Once

again, this is a factual dispute that cannot be appropriately resolved via a 12(b)(6) motion.

Furthermore, Defendants claim that their internal records indicate that some of the calls did not

take place from the alleged numbers listed in the Amended Complaint, but this is again yet

another factual dispute. A 12(b)(6) motion tests the legal sufficiency of a plaintiff’s claims, it is

not something that can be granted on the basis of “motion to dismiss because we claim we didn’t

do what plaintiff alleges.” The issues Defendants are raising are more appropriately resolved at

the summary judgment stage of the proceedings.




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                                        CONCLUSION
       For the foregoing reasons, defendants’ motion should be denied and the proceedings

should go forward without delay.

Dated: February 26, 2019      By: _/s/ Bryan Anthony Reo__________________________
                                      Bryan Anthony Reo
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                                 CERTIFICATE OF SERVICE
       I hereby certify that on February 26, 2019, I filed the foregoing with the Clerk of Court,

which will automatically send notification of such filing to all attorneys of record by placing the

same on the Court’s electronic docket.

                                          _/s/ Bryan Anthony Reo__________________________
                                               Bryan Anthony Reo




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